                                           EXHIBIT “A”

 Situated in the City of Aurora, County of Portage and State of Ohio, being Sublot No. 133 in
 Barrington Subdivision No. 2, being part of Original Aurora Township Lot No.s 8, 9, 15 and 16,
 as shown by recorded Plat 94-74 of Portage County Records (the “Sublot” or “Sublots”),
 together with all rights created by the Master Declaration of Covenants, Conditions, Easements
 and Restrictions of Barrington, Aurora, Ohio recorded in Volume 1116, Page 528 through 600 of
 the Portage County Records

 be the same, more or less, but subject to all legal highways.

 PPN 03-016-00-00-177-000




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